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                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT
                          1100 East Main Street, Suite 501, Richmond, Virginia 23219
                                        www.ca4.uscourts.gov

                                           November 3, 2023

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                                  TENTATIVE CALENDAR ORDER
                                   ____________________________

        No.    23-1453,             Donna Buettner-Hartsoe v. Baltimore Lutheran High
                                    School Association
                                    1:20-cv-03132-RDB

              This case is tentatively calendared for in-person oral argument during the

        1/23/2024 - 1/26/2024, oral argument session in Richmond, Virginia.

              Any motions that would affect the scheduling of argument, including

        motions to submit on the briefs, must be filed by 11/13/2023, or counsel must

        show that relief could not have been requested by that date. Motions must state

        whether opposing counsel consents to the requested relief.

              Any conflicts that would affect the scheduling of argument and any

        additional cases counsel is tentatively scheduled to argue during this session must

        be identified by filing a Notice Regarding Conflict with Proposed Argument Dates

        (form available at www.ca4.uscourts.gov/court-form-fees) by 11/13/2023. The

        form should not be filed if counsel is available throughout the session and is

        arguing this case only.
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                Counsel shall file 4 paper copies of their briefs and appendices within 7

        days.    The paper copy requirement applies to any briefs and appendices filed by

        counsel but not to pro se briefs. Paper copies must be identical as to cover, binding,

        page numbering, and formatting must match the electronic copy, and must comply

        with the Fourth Circuit Brief and Appendix Requirements. No ECF entry is

        made by counsel when filing paper copies of previously filed briefs and

        appendices.

                Counsel will be notified either that the case has been scheduled for a date

        certain during the session or continued to the next available session. The identity of

        the panel hearing a case is not disclosed until the morning of argument.

                For questions regarding scheduling of argument, please call 804-916-2714.

        For questions regarding required copies of briefs and appendices, please call 804-

        916-2700.

                                          /s/ NWAMAKA ANOWI, CLERK
                                          By: Joseph L. Coleman, Jr., Calendar Clerk
